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A0 91 (Rev. 11/11) Criminal Complaint                                                                      F     I      I...       E       E

                                     UNITED STATES DISTRICT COURT                                              JAN 032019
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                                                   Western District of Texas                        WESTEDISTRICT OF TEXAS
                                                                                                    BY
                                                                                                                               EPUTY CLERK
                   United States of America                         )
                                V.                                  )

                                                                    )       Case No. SA19-MJ-0003
                    Tony Dwayne Albert
                                                                    )

                                                                    )

                                                                    )

                                                                    )
                          Defendant(s)


                                              CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best   of my knowledge and belief
On or about the date(s) of December 30, 2018                               in the county of Guadalupe                                      in the
Western                District of Texas                     ,   the defendant(s) violated:

               Code Section                                                   Offense Description

1   8/922(g)(9)                            Convicted of a misdemeanor crime of domestic violence and was in
                                           Possession of a Firearm.

                                           PENALTIES: Up to 10 years imprisonment, $250,000 fine, 3 years
                                           supervised release, $100 mandatory special assessment.


          This criminal complaint is based on these facts:

See Attached Affidavit




          iI

                                                                                  /*-
                Continued on the attached sheet.



                                                                                              Complainant s signature

                                                                            ATF S/A Kaitlin O'Connell

E'worn to before me and signed in my presence.
LI Sworn to telephonically and signed electronically.


Date:      T4?.               -oI7


City and state:      San Antonio, Texas                                     RICHARD    B.     FARRER,      U.S. Magistrate Judge
                                                                                               Printed name and title
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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

                 AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

I, Special Agent Kaitlin O'Connell, being duly sworn do hereby depose and state:

1.     Your affiant is currently employed as a Special Agent (SA) with the Bureau of Alcohol,
Tobacco, Firearms and Explosives (ATF) and has been so employed since January 2015. Since
January 2015, your affiant has participated in investigations concerning violations of Title 18.

2.       On December 30, 2018, the Seguin Police Department received information regarding a
male wearing a facemask who walked into a restaurant and entered the restroom. After exiting
the restroom, the restaurant owner stated the male asked for directions to a Baptist Church. After
a short conversation, the male left the restaurant. The restaurant owner noticed the male had a
pistol in his hand. The male was later identified as Tony Dwayne Albert.

3.     Later that day, a male meeting the description of Tony Dwayne Albert was located
walking on the 2200 block of West Kingsbury St, Seguin, Texas, in the Western District of
Texas. Tony Dwayne Albert was wearing black military style boots, dark coat, a surgical type
mask, and a white shirt wrapped around his head and tan pants. Officers approached Tony
Dwayne Albert with caution due to the encounter at the restaurant earlier in the day. Upon
approach, the Officer asked Tony Dwayne Albert if he had a handgun. Tony Dwayne Albert
responded he did have a handgun, and it was in the left pocket of his jacket.

4.     Tony Dwayne Albert was frisked due to his statement that he possessed a firearm. The
following items were recovered:

               Smith and Wesson, model MP9, 9mm caliber pistol, serial number NAR1 186,
               loaded with 16 rounds of 9mm ammunition, making this a large capacity firearm,
               located in the left pocket of Tony Dwayne Albert's jacket,
               One additional magazine loaded with 17 rounds of 9mm ammunition

5.      Tony Dwayne Albert also possessed less than two ounces of marijuana, a marijuana
pipe, and various identification cards belonging to victim R.R. The Smith and Wesson firearm
possessed by Tony Dwayne Albert was also stolen from R.R.

6.      Tony Dwayne Albert was taken into custody by Seguin Police Department. During the
arrest, Tony Dwayne Albert told the Officer that he needed to get to a Baptist Church, asking the
Officer to take him.

7.      Tony Dwayne Albert was interviewed at the Guadalupe County Jail by a Seguin Police
Department Detective. Tony Dwayne Albert was read his Miranda rights prior to the interview.
Tony Dwayne Albert acknowledged and agreed he understood his rights. During the interview,
he stated he was in Vidor, Texas looking for a Baptist Church. Tony Dwayne Albert stated the
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firearm was for protection because "people try to kill God's people."

8.      ATF Interstate Nexus examination reveals that the Smith and Wesson, model MP9, 9mm
caliber pistol, serial number NAR1 186, was not manufactured in the State of Texas, and
therefore traveled in interstate and foreign commerce.

9.     Tony Dwayne Albert was previously convicted of a misdemeanor crime of domestic
violence, Assault- Family Member, on June 21, 2017 in Harris County, Texas, Cause Number
214348101010.

Based on the above facts, your affiant believes there is probable cause that Tony Dwayne Albert
has been convicted of a misdemeanor crime of domestic violence and was in possession a
firearm in violation of 18 U.S.C. §922(g)(9).




                                             Spe ial Agent Kaitlin O'Connell
                                             Bureau of Alcohol, Tobacco, Firearms, and
                                             Explosives



SUBSCRIBED AND SWORN TO BEFORE ME                 THJANUARY, 2019.

                                                                B. FARRER
                                             UNITED STATES MAGISTRATE JUDGE
